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                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF COLUMBIA

Gilberto Rodriguez CHAVERRA,                          )
as the Administrator of the Estate of Jeancarlo       )
Alfonso Jimenez Joseph, A-204-603-723                 )
2920 Maidenhair Drive                                 )
Raleigh, North Carolina 27610                         )
                                                      )
       Plaintiff-Petitioner,                          )
                                                      )
v.                                                    )   Civil Action No.: 1:18-cv-289
                                                      )
U.S. IMMIGRATION AND CUSTOMS                          )   COMPLAINT FOR DECLARATORY
ENFORCEMENT,                                          )   AND INJUNCTIVE RELIEF AND
500 12th Street, S.W.                                 )   PETITION  FOR   WRIT   OF
Washington, D.C. 20536-5009;                          )   MANDAMUS
                                                      )
       Defendant,                                     )
                                                      )
U.S. DEPARTMENT OF HOMELAND                           )
SECURITY – OFFICE OF INSPECTOR                        )
GENERAL,                                              )
245 Murray Lane                                       )
Washington, D.C. 20528-0305;                          )
                                                      )
       Defendant,                                     )
                                                      )
U.S. DEPARTMENT OF HOMELAND                           )
SECURITY – OFFICE FOR CIVIL                           )
RIGHTS AND CIVIL LIBERTIES,                           )
Building 410, Mail Stop # 0190                        )
Washington, D.C. 20528,                               )
                                                      )
       Defendant,                                     )
                                                      )
Dr. Stewart D. SMITH, in his Official                 )
Capacity as Assistant Director for the                )
Department of Homeland Security, U.S.                 )
Immigration and Customs Enforcement, ICE              )
Health Services Corps,                                )
500 12th Street S.W.                                  )
Washington, D.C. 20536-5098                           )
                                                      )
        Defendant-Respondent.                         )




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                                   PRELIMINARY STATEMENT

    1. This action involves the death of a longtime U.S. resident in a for-profit immigration detention

center, his family’s efforts to get answers about his death using the nation’s open records laws, and

federal agencies’ repeated refusals to hand over a single document in response to their requests.

    2. On May 15, 2017, Jeancarlo Alfonso Jimenez Joseph (“Mr. Jimenez”), a 27 year-old recipient

of Deferred Action for Childhood Arrivals (“DACA”), passed away in solitary confinement while in

the custody of U.S. Immigration and Customs Enforcement (“ICE”) at the privately operated Stewart

Detention Center (“SDC”) in Lumpkin, Georgia.

    3. Though Mr. Jimenez was immediately identified by ICE and SDC staff as a suicide risk during

his arrival and booking, and despite their knowledge of his documented history of schizophrenia,

suicidal ideation, and multiple involuntary commitments—including one by a prior detention facility

where officers act as ICE agents under a contract with ICE—ICE and SDC officials repeatedly

subjected Mr. Jimenez to solitary confinement and denied him access to necessary mental health

treatment and intervention.

    4. Mr. Jimenez spent nearly six days—twice the allowable period—in administrative solitary

confinement after being attacked and injured by another detainee.

    5. Mr. Jimenez then spent the final eighteen days of his life in prolonged solitary confinement1

as punishment for jumping from the top tier of his housing unit, an act he later described to guards

as an effort to harm himself.



1
         The United Nations Special Rapporteur on Torture “defines prolonged solitary confinement
as any period of solitary confinement in excess of 15 days.” Interim report of the Special Rapporteur of the
Human Rights Council on torture and other cruel, inhuman or degrading treatment or punishment, delivered to the
United Nations General Assembly August 5, 2011, U.N. Doc A/66/268 at 22 ¶ 79 (Aug. 5, 2011)
available at http://solitaryconfinement.org/uploads/SpecRapTortureAug2011.pdf (last visited Feb. 8,
2018). The Special Rapporteur concluded both prolonged solitary confinement and placement of
persons with mental disabilities “can amount to torture or cruel, inhuman and degrading treatment or
punishment.” Id. at 22 ¶ 81.
                                                      2
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    6. Though he informed ICE medical personnel just days before he died that the voices in his

head were telling him to kill himself and he begged for an upward adjustment to his anti-psychotic

medication, officials never placed Mr. Jimenez on suicide watch or provided him emergency

psychiatric intervention while he was in solitary confinement.

    7. On the night Mr. Jimenez died, facility personnel reportedly observed him inside his solitary

confinement cell using his bedsheet as a jump rope just hours before he would tie the sheet to an

exposed sprinkler head and hang himself. A cursory glance inside the solitary confinement cell would

have revealed to officers that Mr. Jimenez had written “Hallelujah The Grave Cometh” in large, dark

letters on the wall.

    8. The guard responsible for performing thirty-minute visual checks of Mr. Jimenez failed to do

so. Instead, he falsified the facility detention logs to indicate the checks were performed.

    9. Since Mr. Jimenez’s death, two additional Georgia ICE detainees have perished as a result of

medical conditions they suffered in detention.2

    10. Deaths in immigration detention have reached their highest levels since 2009.3

    11. But federal immigration authorities have signaled loosening of the standards put in place since

2009 to prevent unwarranted solitary confinement and in-custody deaths, as well as the closure of




2
        Jeremy Redmon, ICE detainee third to die since May after being held in Georgia, ATLANTA JOURNAL-
CONSTITUTION (Jan. 31, 2018) available at http://www.ajc.com/news/state--regional-govt--
politics/ice-detainee-who-was-held-south-georgia-dies/MUIQjgOaMxyKx6zTu0TnpK/ (last visited
Feb. 7, 2018); Elly Yu, ICE Detainee Dies, Third to Die in Less Than a Year After Being Held in Ga.,
WABE.ORG (Feb. 1, 2018) available at https://www.wabe.org/ice-detainee-dies-third-die-less-year-
held-ga/ (last visited Feb. 8, 2018).
3
        Jeane Kuang, Immigration detention deaths reach the highest total since 2009, HOUSTON CHRONICLE
(Jan.      12,      2018)      available  at      https://www.houstonchronicle.com/news/houston-
texas/houston/article/Immigration-detention-deaths-reach-the-highest-12494624.php (last visited
Feb. 8, 2018).
                                                   3
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ICE’s Office of Detention Policy and Planning, which oversaw formulation of these standards.4 These

rollbacks threaten to amplify the “systemic indifference”5 and “fatal neglect”6 by ICE in response to

in-custody detainee deaths.

    12. Both before and after Mr. Jimenez’s death, the Department of Homeland Security’s Office of

Inspector General (“DHS-OIG”) released reports documenting struggles by ICE to provide mental

healthcare7 and violations of ICE policies and standards by agency officials responsible for the health

and safety of immigration detainees at SDC—particularly those in solitary confinement and those

suffering from mental health and other medical issues.8 ICE itself has noted in federal contracting

documents the difficulty of ensuring adequate medical staffing at SDC.9



4
         Caitlin Dickerson, Trump Plan Would Curtail Protections for Detained Immigrants, THE NEW YORK
TIMES (Apr. 13, 2017) available at https://www.nytimes.com/2017/04/13/us/detained-immigrants-
may-face-harsher-conditions-under-trump.html (last visited Feb. 8, 2018).
5
         Systemic Indifference: Dangerous & Substandard Medical Care in US Immigration Detention, Human
Rights Watch & Community Initiatives for Visiting Immigrants in Confinement (May 2017) available
at https://www.hrw.org/sites/default/files/report_pdf/usimmigration0517_web_0.pdf (last visited
Feb. 8, 2018).
6
         Fatal Neglect: How ICE Ignores Deaths in Detention, American Civil Liberties Union, Detention
Watch Network & National Immigrant Justice Center (Feb. 2016) available at
https://www.detentionwatchnetwork.org/sites/default/files/reports/Fatal%20Neglect%20ACLU-
DWN-NIJC.pdf (last visited Feb. 8, 2018).
7
         See ICE Struggles to Hire and Retain Staff for Mental Health Cases in Immigration Detention,
Department of Homeland Security, Office of Inspector General, OIG-16-113-VR (Jul. 21, 2016)
available at https://www.oig.dhs.gov/assets/VR/FY16/OIG-16-113-VR-Jul16.pdf (last visited Feb.
8, 2018).
8
         Concerns about ICE Detainee Treatment and Care at Detention Facilities, Dept. of Homeland Security,
Office of Inspector General, OIG-18-32 (Dec. 11, 2017) (citing SDC for PBNDS violations relating
to detainee classification, grievances, segregation, and medical care) available at
https://www.oig.dhs.gov/sites/default/files/assets/2017-12/OIG-18-32-Dec17.pdf (last visited
Feb. 7, 2018); ICE Field Offices Need to Improve Compliance with Oversight Requirements for Segregation of
Detainees with Mental Health Conditions, Dept. of Homeland Security, Office of Inspector General, OIG-
17-119 (Sept. 29, 2017) available at https://www.oig.dhs.gov/sites/default/files/assets/2017-
11/OIG-17-119-Sep17.pdf (last visited Feb. 7, 2018) (citing Atlanta Field Office .
9
         Justification for Other than Full and Open Competition, U.S. Immigration and Customs Enforcement,
Office of Acquisition Management (Jan. 25, 2017) (“Presently, ICE’s Stewart Detention Center . . .
[is] in critical need of RN staff to sustain operations[.] . . . At the Stewart Detention Center, which
houses an average population of 1,850 detainees, only 1 in 5 of the Public Health Service positions is
currently occupied (20% fill rate). . . . ICE’s failure to sustain minimum RN staff levels will require
                                                     4
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    13. These government reports corroborate longstanding complaints by immigrant rights

advocates about conditions of immigration detention and the failure of ICE to properly implement

and enforce its detention and medical standards.10

    14. Mr. Jimenez’s family, including Plaintiff Gilberto Rodriguez Chaverra (“Plaintiff”), the

Administrator of his Estate, sought records through counsel from ICE, DHS-OIG, and the

Department of Homeland Security’s Office for Civil Rights and Civil Liberties (“DHS-CRCL”)

regarding Mr. Jimenez’s apprehension, detention, treatment, solitary confinement, and death in ICE

custody.

    15. For eight months, these agencies have failed to acknowledge, failed to timely respond, and

categorically denied multiple Freedom of Information Act (“FOIA”) requests for agency records

relating to Mr. Jimenez and SDC.

    16. Faced with the persistent denial of access to agency records, Plaintiff brings this action seeking

a declaration that the agencies have unlawfully withheld agency records and an order enjoining further

violations of FOIA.

    17. Finally, ICE and the ICE Health Services Corps (“IHSC”) have unlawfully denied Plaintiff

direct access to Mr. Jimenez’s medical records.

    18. Instead of providing these records to Plaintiff directly, as required by binding agency

standards, agency policy pronouncements, and the Privacy Rule, 45 C.F.R. §§ 160, 164 implementing



healthcare services to be reduced at each facility, endangering detainee and non-detainee safety,
disrupting           detention            operations[.])        available       for        download       at
https://www.fbo.gov/utils/view?id=d44b68b3addf8474657256199d574f76                                       via
https://govtribe.com/project/ihsc-maxim-ja-for-berks-and-stewart (last visited Feb. 8, 2018).
10
        See, e.g., Imprisoned Justice: Inside Two Georgia Immigrant Detention Centers, Penn State Law Center
for Immigrants’ Rights & Project South (May 4, 2017) available at https://projectsouth.org/wp-
content/uploads/2017/06/Imprisoned_Justice_Report-1.pdf (last visited Feb. 8, 2018); Prisoners of
Profit: Immigrants and Detention in Georgia, ACLU of Georgia (May 2012) available at
https://www.acluga.org/sites/default/files/field_documents/prisoners_of_profit.pdf (last visited
Feb. 8, 2018).
                                                     5
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the Health Insurance Portability and Accountability Act (“HIPAA”), 110 Stat. 1936, ICE and IHSC

maintain that the sole means Plaintiff has of obtaining Mr. Jimenez’s medical records is the FOIA.

    19. Consequently, Plaintiff seeks declaratory, injunctive, and mandamus relief requiring ICE to

turn over unredacted copies of Mr. Jimenez’s medical records.

                                 JURISDICTION AND VENUE

    20. This Court has subject-matter jurisdiction over Plaintiff’s FOIA claims pursuant to 28 U.S.C.

§ 1331 (federal question) and 5 U.S.C. § 552(a)(4)(B) (FOIA). Subject-matter jurisdiction lies under 28

U.S.C. § 1331 to adjudicate Plaintiff’s claims under the Mandamus Act, 28 U.S.C. § 1361 and

Administrative Procedure Act, 5 U.S.C. § 702. Plaintiff’s request for declaratory and other relief is

properly subject to this Court’s subject-matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 2201(a), and

2202.

    21. Venue is proper within this District under 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C. §§ 1391(b)(1),

(b)(2), and (e)(1).

                                              PARTIES

    22. Plaintiff Gilberto Rodriguez Chaverra (“Plaintiff”) is an adult resident of the State of North

Carolina. On December 19, 2017, the Wake County Superior Court issued Letters of Administration

appointing Plaintiff the Administrator of the Estate of Jeancarlo Alfonso Jimenez Joseph pursuant to

N.C.G.S. §§ 28A-6-1; 28-A-6-3; 28A-11-1; 36C-2-209. Case No. 2017 E 004100.

    23. Plaintiff has exhausted all non-futile administrative remedies available to him.

    24. Defendant ICE is an executive agency component of the United States government and an

“agency” within the meaning of 5 U.S.C. § 552(f)(1).

    25. Defendant DHS-OIG is an executive agency component of the United States government

and an “agency” within the meaning of 5 U.S.C. § 552(f)(1).




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     26. Defendant DHS-CRCL is an executive agency component of the United States government

and an “agency” within the meaning of 5 U.S.C. § 552(f)(1).

     27. Defendant Dr. Stewart D. Smith is the Assistant Director for the Department of Homeland

Security, U.S. Immigration and Customs Enforcement, ICE Health Services Corps.

     28. IHSC provides direct care to approximately 13,500 detainees housed at 21 designated facilities

throughout the Nation to include medical, dental and mental health care, and public health services.

     29. IHSC also provides medical case management and oversight for an additional 15,000 detainees

housed at approximately 119 non-IHSC staffed detention facilities across the country.

     30. In addition, IHSC oversees the financial authorization and payment for off-site specialty and

emergency care services for detainees in ICE custody.11

     31. IHSC is a “health care provider” within the meaning of HIPAA. 42 U.S.C. §§ 1320d(3),

1395x(u), 1395x(s); 45 U.S.C. § 160.103.

     32. As a “health care provider,” ICE transmits ICE detainee health information in electronic form

in connection with “transactions” defined in 45 U.S.C. § 160.103.12

     33. IHSC is therefore a “covered entity” under the HIPAA Privacy Rule even though the agency

is not a “health plan” as defined by the Act.

     34. Dr. Smith is the ICE / IHSC official who owes a mandatory duty to Plaintiff to provide

unredacted copies of Mr. Jimenez’s medical records, in accordance with 45 U.S.C. §§ 160.103, 164.502,

and 164.524.

//



11
        See ICE Health Service Corps, Overview (last updated Jan. 3, 2018) available at
https://www.ice.gov/ice-health-service-corps (last visited Feb. 8, 2018).
12
        See IHSC – Managed Care (last updated Jan. 3, 2018) available at https://www.ice.gov/ihs-
managed-care (last visited Feb. 8, 2018). See also ICE Health Services Corps Medical Payment
Authorization               Request                   Form                available            at
https://www.ice.gov/doclib/about/offices/ihsc/pdf/medpar-form.pdf (last visited Feb. 8, 2018).
                                                   7
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                                              FACTS

A. ICE’s Unlawful Withholding of Agency Records Pertaining to Mr. Jimenez.

   35. On June 1, 2017, Plaintiff, through counsel, sent a FOIA request to ICE seeking “all records,

including medical, pertaining to” Mr. Jimenez. Ex. A.

   36. On June 14, 2017, ICE acknowledged Plaintiff’s FOIA request and assigned it Case Number

2017-ICFO-32679. In the same communication, ICE demanded that Plaintiff return a Third Party

Consent form executed by Mr. Jimenez. Ex. A.

   37. The same day, Plaintiff, through counsel, provided a copy of ICE’s Public Notice regarding

Mr. Jimenez’s in-custody death, Ex. B.

   38. On June 16, 2017, ICE provided a separate acknowledgement of the perfected FOIA request.

Ex. C.

   39. On September 11, 2017, ICE provided Plaintiff, through his counsel, a final response to his

FOIA request. Ex. D.

   40. In its response, ICE determined that all responsive records would be categorically withheld

under Exemption (7)(A) based on “the open status of ongoing criminal law enforcement

investigations.” Ex. D.

   41. ICE reserved the right to assert withholdings under Exemptions 5, 6, 7(C), 7(D), and 7(F)

“when FOIA Exemption (b)(7)(A) no longer applies.” Ex. D.

   42. On September 25, 2017, Plaintiff, through counsel, timely appealed ICE’s categorical

withholding of agency records. Ex. E.




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     43. Plaintiff challenged ICE’s blanket 7(A) denial based on the documented closure of the Georgia

Bureau of Investigation’s criminal inquiry13 and the absence of any indication that ICE’s Office of

Professional Responsibility (“OPR”) or DHS-OIG had opened a criminal law enforcement

investigation, which could potentially result in an enforcement proceeding, as opposed to a standard

internal agency review of Mr. Jimenez’s death, which cannot.

     44. On October 5, 2017, ICE’s Government Information Law Division acknowledged it received

Plaintiff’s timely appeal assigned the appeal tracking number 2018-ICAP-00004. Ex. F.

     45. On October 23, 2017, ICE denied Plaintiff’s appeal and upheld the categorical withholding of

all agency records under Exemption 7(A). Once again, ICE reserved the right to apply additional

withholdings after the alleged ongoing investigation that warranted categorical withholding concludes.

     46. ICE’s denial contends it confirmed with ICE OPR that as of October 12, 2017, an “ongoing

criminal investigation” existed. Ex. G.

     47. On November 2, 2017, ICE agency counseled confirmed in writing to Plaintiff’s counsel that

ICE OPR is not investigating Mr. Jimenez’s death. Instead, DHS-OIG is performing the investigation.

B. ICE’s Unlawful Failure to Respond to Plaintiff’s Request for Records Relating to SDC.

     48. On October 3, 2011, Plaintiff, through counsel, sent ICE a FOIA request, Ex. H, seeking

four categories of agency records:

     (1) Contracts and agreements governing medical and detention operations at SDC since
         January 1, 2017;

     (2) Inspection records for SDC since January 1, 2015;

     (3) Significant Incident Reports and Significant Event Notifications at SDC since January 1,
         2017; and




13
        Jeremy Redmon, GBI: No foul play in death of ICE detainee in South Georgia, ATLANTA JOURNAL-
CONSTITUTION (Aug. 16, 2017) available at http://www.ajc.com/news/breaking-news/gbi-foul-play-
death-ice-detainee-south-georgia/89TnLq5mTZs4WyuvV106OP/ (last visited Feb. 8, 2018).
                                                    9
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   (4) ICE Health Services Corps policy and practice materials governing the performance of
       IHSC’s medical duties at SDC.

   49. On October 6, 2017, ICE acknowledged receipt of “ONLY item 1” (Contracts and

Agreements) of Plaintiff’s October 3 request and assigned this portion of the request tracking number

2018-ICFO-00999. Ex. I (emphasis in original).

   50. The agency sought clarification regarding the request, specifically, “the contract number(s) of

the contract(s) for which” Plaintiff requested records.

   51. The same day, Plaintiff, through counsel, provided the agency the two known contract

numbers for SDC: DRO-IGSA-06-0003 and HSCEDM-09-F-IG051. Ex. I

   52. ICE characterized Plaintiff’s “perfected request” as “received” on October 11, 2017. Ex. J.

   53. As of the date of this filing—120 days after claiming the request was “perfected”—ICE has

provided no response to the portions of Plaintiff’s FOIA request designated 2018-ICFO-00999.

   54. According to the agency’s online FOIA status checking tool, documents were estimated to

have been delivered on December 27, 2017. Ex. K.

   55. DHS complex-track requests are currently taking an average of 111 days.

   56. On October 6, 2017, by separate email, ICE acknowledged receipt of “ONLY items 2-3” of

Plaintiff’s October 3 request and assigned this portion of the request tracking number 2018-ICFO-

00998. Ex. L (emphasis in original).

   57. As of the date of this filing—128 days after receiving the request—ICE has provided no

response to the portions of Plaintiff’s FOIA request assigned tracking number 2018-ICFO-00998.

   58. According to the agency’s online FOIA status checking tool, documents were estimated to

have been delivered on January 5, 2018. Ex. M.

   59. As of the date of this filing, Plaintiff has received no acknowledgement, assigned tracking

number for, or response to Item 4 (IHSC Medical Policies) in the October 3, 2017 request.



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C. DHS-OIG’s Unlawful Failure to Respond to Plaintiff’s FOIA Request.

   60. On October 16, 2017, Plaintiff, through counsel, sent a FOIA request for “all DHS-OIG

records of investigations, referrals, or contemplated investigations involving (1) any incident or

allegation at the [ICE] [SDC] occurring on or after January 1, 2015; (2) Any suicide attempt at the

[SDC] since January 1, 2010; and (3) any allegation or incident involving CCA/CoreCivic or its

personnel since January 1, 2010.” Ex. N.

   61. On November 2, 2017, DHS-OIG acknowledged receipt of Plaintiff’s FOIA request and

assigned it tracking number 2018-IGFO-00007. Ex. O.

   62. DHS-OIG has provided no records responsive to Plaintiff’s request.

   63. According to the agency’s online case tracking tool, delivery of responsive documents was

estimated November 20, 2017. Ex. P.

D. DHS-CRCL’s Unlawful Failure to Acknowledge or Respond to Plaintiff’s FOIA Requests.

   64. On October 16, 2017, Plaintiff, through counsel, submitted two FOIA requests to DHS-

CRCL via the agency’s online FOIA portal.

   65. The first request, Ex. Q, sought:

    (1) All records relating to the arrest, detention death of Jeancarlo Jimenez-Joseph, A
        204603723, and any subsequent investigation, action or analysis by DHS HQ; and

    (2) All records relating to DHS HQ’s communications, assessments, and/or investigations
        into CoreCivic and Stewart County, Georgia’s compliance with their contracts to operate
        the Stewart Detention Facility in Lumpkin, Georgia beginning January 1, 2017 and
        continuing until the date of the agency's response to this request.

   66. The second request, Ex. R, sought:

   (1) All CRCL records relating to Jeancarlo Jimenez Joseph, AXXXXXXXX, including, but not
       limited to, records relating to his death at the Stewart Detention Facility in Lumpkin,
       Georgia on May 15, 2017, and any postmortem reviews, analyses, communications, or
       reports regarding this event, CoreCivic/CCA, ICE, or the Stewart Detention Facility; and

   (2) A copy of all contracts between CRCL and any mental health provider or medical provider
       for monitoring, analysis, or other consulting relating to immigrant detention.

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    67. To date, DHS-CRCL has failed to provide any acknowledgement, tracking number, or

response to either of Plaintiff’s requests.

E. IHSC’s Unlawful Refusal to Provide Plaintiff with Mr. Jimenez’s Medical Records.

    68. On or about September 22, 2017, Plaintiff, through counsel, attempted to request Mr.

Jimenez’s medical records from the IHSC official in charge of SDC.

    69. In response, Plaintiff’s counsel received a call, followed by several subsequent written

communications, from ICE District Court Litigation Division (“DCLD”) counsel advising that the

agency would only provide Mr. Jimenez’s medical records through FOIA.

    70. ICE DCLD advised Plaintiff, through counsel, that there was no mechanism other than FOIA

for appealing this determination.

    71. On February 6, 2018, ICE DCLD confirmed to Plaintiff’s counsel in writing the agency’s

position that FOIA is the sole mechanism through which Plaintiff can secure Mr. Jimenez’s medical

records from ICE.

                                 CLAIMS FOR RELIEF
               COUNT ONE: VIOLATION OF THE FREEDOM OF INFORMATION ACT
                                 5 U.S.C. § 552(a)(4)(B)
                          2018 ICE-CAP-00004, 2017-ICFO-32679
                      Unlawful Withholding of Agency Records by ICE

        Responsive to Plaintiff’s June 1, 2017 Request for Records Pertaining to Mr. Jimenez

    72. Plaintiff re-alleges and incorporates by reference all allegations in the foregoing paragraphs.

    73. Plaintiff has a legal right under FOIA to all non-exempt agency records responsive to the June

1, 2017, FOIA request assigned ICE tracking numbers 2018-ICE-CAP-00004 and 2017-ICFO-32679.

    74. ICE unlawfully withheld non-exempt agency records responsive to Plaintiff’s request.

    75. ICE’s categorical withholding under Exemption 7(A) violates FOIA by determining

categorically that each and every responsive record was “compiled for law enforcement purposes”

within the meaning of the Act.

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    76. ICE’s categorical withholding under Exemption 7(A) violates FOIA because, upon

information and belief, the open review of Mr. Jimenez’s death is neither designed for nor in

anticipation of any contemplated administrative, civil, or criminal enforcement proceeding.

    77. Based on publicly available information, since data became available in 2003, no DHS detainee

death review has ever culminated in a administrative, civil, or criminal enforcement proceeding.

    78. Even if such an investigation is currently ongoing, the agency’s categorical application of

Exemption 7(A) fails because not all documents can reasonably be expected to interfere with the

investigation if released.

    79. A large number of these documents are currently in the public domain as a result of the GBI’s

closure of its investigation and subsequent release, via the Georgia Open Records Act, of records its

investigators gathered.

    80. ICE’s categorical withholding under Exemption 7(A) thus violates the agency’s duty under

FOIA to release reasonably segregable, non-exempt portions of responsive records, even if some

documents are properly withheld. 5 U.S.C. § 552(b).

    81. Plaintiff, through counsel, has exhausted his administrative remedies.

               COUNT TWO: VIOLATION OF THE FREEDOM OF INFORMATION ACT
                                     5 U.S.C. § 552(a)(4)(B)
                             2018-ICFO-00998 & 2018-ICFO-00999
                        Unlawful Withholding of Agency Records by ICE
                Responsive to Plaintiff’s October 3, 2017 Request for SDC Records

    82. Plaintiff re-alleges and incorporates by reference all allegations in the foregoing paragraphs.

    83. Plaintiff has a legal right under FOIA to timely search and release of responsive, non-exempt

agency records responsive to his October 3, 2017 FOIA request, assigned by the agency tracking

numbers 2018-ICFO-00998 and 2018-ICFO-00999.

    84. No legal basis exists for ICE’s failure to adequately and timely search for and release

responsive agency records in compliance with FOIA’s time limits.

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    85. ICE’s failure to make reasonable and timely efforts to search for and release responsive agency

records constitutes an unlawful withholding under the Act that this Court can and should remedy

through declaration and injunction.

    86. Because ICE has failed to comply with the Act’s time limits, Plaintiff has constructively

exhausted his administrative remedies.

              COUNT THREE: VIOLATION OF THE FREEDOM OF INFORMATION ACT
                                      5 U.S.C. § 552(a)(7)(A)
                     INDIVIDUALIZED TRACKING NUMBER REQUIREMENT
                        Unlawful Withholding of Agency Records by ICE
                Responsive to Plaintiff’s October 3, 2017 Request for SDC Records

    87. Plaintiff re-alleges and incorporates by reference all allegations in the foregoing paragraphs.

    88. ICE is under a legal duty to “provide each person making a request the tracking number

assigned to the request. 5 U.S.C. § 552(a)(7)(A).

    89. ICE violated this legal duty by failing to acknowledge Item 4 (IHSC Policies) from Plaintiff’s

October 3, 2017 request and assign it an individualized tracking number.

    90. No legal basis exists for failing to assign this portion of Plaintiff’s request a tracking number

and timely process it.

    91. ICE’s failure to make reasonable and timely efforts to search for and release responsive agency

records constitutes an unlawful withholding under the Act that this Court should remedy through

injunction.

    92. Because ICE has failed to comply with the Act’s time limits, Plaintiff has constructively

exhausted his administrative remedies.

              COUNT FOUR: VIOLATION OF THE FREEDOM OF INFORMATION ACT
                                  5 U.S.C. § 552(a)(4)(B)
                                     2018-IGFO-00007
                    Unlawful Withholding of Agency Records by DHS-OIG
                      Responsive to Plaintiff’s October 16, 2017 Request

    93. Plaintiff re-alleges and incorporates by reference all allegations in the foregoing paragraphs.

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    94. Plaintiff has a legal right under the FOIA to timely search and release of responsive, non-

exempt agency records responsive to his October 16, 2017 FOIA request to DHS-OIG.

    95. No legal basis exists for DHS-OIG’s failure to adequately and timely search for and release

responsive agency records in compliance with the FOIA’s time limits.

    96. DHS-OIG’s failure to make reasonable and timely efforts to search for and release responsive

agency records constitutes an unlawful withholding under the Act that this Court can and should

remedy through declaration and injunction..

    97. Because DHS-OIG has failed to comply with the Act’s time limits, Plaintiff has constructively

exhausted his administrative remedies.

               COUNT FIVE: VIOLATION OF THE FREEDOM OF INFORMATION ACT
                                    5 U.S.C. § 552(a)(7)(A)
                     INDIVIDUALIZED TRACKING NUMBER REQUIREMENT
                    Unlawful Withholding of Agency Records by DHS-CRCL
                 Responsive to Plaintiff’s October 16, 2017 Requests for Records

    98. Plaintiff re-alleges and incorporates by reference all allegations in the foregoing paragraphs.

    99. DHS-CRCL is under a legal duty to “provide each person making a request the tracking

number assigned to the request. 5 U.S.C. § 552(a)(7)(A).

    100.        DHS-CRCL violated this legal duty by failing to promptly acknowledge Plaintiff’s

October 16, 2017 requests and assign them individualized tracking numbers.

    101.        No legal basis exists for failing to assign Plaintiff’s request a tracking number and

timely process it.

    102.        DHS-CRCL’s failure to make reasonable and timely efforts to search for and release

responsive agency records constitutes an unlawful withholding under the Act that this Court can and

should remedy through declaration and injunction.

    103.        Because DHS-CRCL has failed to comply with the Act’s time limits, Plaintiff has

constructively exhausted his administrative remedies.

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                           COUNT SIX: PETITION FOR WRIT OF MANDAMUS
                                         28 U.S.C. § 1361
                           TO COMPEL IHSC, THROUGH DEFENDANT SMITH,
                            TO RELEASE MR. JIMENEZ’S MEDICAL RECORDS

    104.          Plaintiff re-alleges and incorporates by reference all allegations in the foregoing paragraphs.

    105.          As personal representative of Mr. Jimenez, Plaintiff, the Administrator of Mr.

Jimenez’s Estate, has a clear legal right to access Mr. Jimenez’s medical records to the same extent Mr.

Jimenez could if he were alive, 45 C.F.R. §§ 164.502(g)(4), 164.524, and/or to receive a written, legally

justified denial within thirty days of his request.

    106.          As a covered entity under HIPAA’s Privacy Rule, IHSC owes a clear legal duty to Plaintiff to

provide him access to Mr. Jimenez’s medical records, or a written denial stating the legal basis for

refusing to release records, within thirty days of Plaintiff’s request. See 45 C.F.R. § 164.524.

    107.          No other adequate remedy, including a FOIA request, exists.

    108.          IHSC and ICE have denied Plaintiff access to Mr. Jimenez’s medical records, or a legally

grounded denial, as required by the Privacy Rule.

    109.          Plaintiff is currently suffering an ongoing legal injury and impairment to his right to

access Mr. Jimenez’s medical records as a result of the refusal to comply with the agency’s mandatory

duty under law.

                        COUNT SEVEN: ADMINISTRATIVE PROCEDURE ACT
                                     5 U.S.C. §§ 702, 706(1)
                    TO COMPEL ICE TO RELEASE MR. JIMENEZ’S MEDICAL RECORDS

    44. Plaintiff re-alleges and incorporates by reference all allegations in the foregoing paragraphs.

    45. ICE owes Plaintiff a legal duty to release Mr. Jimenez’s unredacted medical records, subject to

limited, regulatory restrictions. ICE Performance-Based National Detention Standards 2011 §

4.3.BB.2 (rev. 2016), 45 C.F.R. §§ 164.502(g)(4), 164.524.

    46. ICE has unlawfully withheld and unreasonably delayed the legally mandated release of Mr.

Jimenez’s medical records to Plaintiff.
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    47. Plaintiff is within the zone of interests contemplated in the PBNDS and the Privacy Rule

because he is a “designee” and a “personal representative” as referenced in these authorities.

    48. Plaintiff is presently suffering ongoing injury through ICE’s impairment of his legal right to

Mr. Jimenez’s medical record.

    49. Plaintiff has no adequate administrative remedy through which he could exhaust his claim.

    50. ICE’s determination that Mr. Jimenez’s medical records must be obtained through FOIA

constitutes final agency action reviewable by this Court.

                                     REQUEST FOR RELIEF

Wherefore, Plaintiff respectfully requests that this Court:

    1. Enter judgment in favor of Plaintiff and against all Defendants.

    2. Declare Defendants’ withholdings under the FOIA unlawful and enjoin these unlawful

withholdings.

    3. Order ICE and DHS-CRCL to assign Plaintiff’s outstanding, unanswered requests an

individualized tracking number within ten (10) days after receiving those Defendants’ Answers to

Plaintiff’s Complaint.

    4. Order Defendants to conduct a prompt an adequate search for all responsive records,

determine which, if any portions of such records are exempt, and require Defendants to release the

remaining portions of these agency records within sixty (60) days after receiving Defendants’ Answers

to Plaintiff’s Complaint.

    5. Declare that IHSC is a healthcare provider and “covered entity” within the meaning of 42

U.S.C. § 1320d(3) and the Privacy Rule.

    6. Declare that Plaintiff may recover Mr. Jimenez’s medical records outside of the FOIA process

and pursuant to the process set forth at 45 C.F.R. § 164.524.




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    7. Issue a Writ of Mandamus requiring Dr. Smith to release Mr. Jimenez’s medical records to

Plaintiff, or, in the alternative, to comply with the Privacy Rule’s requirements for written denials.

    8. Order ICE to cease unlawfully withholding Mr. Jimenez’s medical records from Plaintiff and

release all records to which he is lawfully entitled.

    9. Award Plaintiff reasonable costs and attorney’s fees pursuant to 5 U.S.C. § 552(a)(4)(E) and/or

28 U.S.C. § 2412(d)(1)(A).

    10. Award Plaintiff such further relief as the Court deems just, equitable, and appropriate.



Date: February 8, 2018                              Respectfully submitted,

                                                    /s/ R. Andrew Free
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